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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

                 Plaintiff and Counterclaim
                 Defendant,
                                                  Case No. 1:19-CV-11438-PBS

       v.                                         JURY TRIAL DEMANDED

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                 Defendant and Counterclaim
                 Plaintiff.



OMILIA’S MOTION FOR RECONSIDERATION OF THE COURT’S PARTIAL
 DENIAL OF OMILIA’S MOTION TO SUPPLEMENT ITS PRELIMINARY
       NON-INFRINGEMENT AND INVALIDITY CONTENTIONS

       Omilia Natural Language Solutions, Ltd. moves for reconsideration of the Court’s

partial denial of Omilia’s Motion to Supplement its Preliminary Non-Infringement and

Invalidity Contentions. The grounds for this motion are set forth in the supporting

Memorandum and accompanying Declaration of Hallie Kiernan and exhibits thereto,

filed this date in support of this motion.




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                           REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Omilia believes that oral argument may assist the

Court and requests oral argument of this motion.

Dated: November 18, 2020                       Respectfully Submitted,

                                               /s/ Daniel S. Sternberg
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                      LOCAL RULE 7.1(a)(2) CERTIFICATION

       I hereby certify that counsel for Omilia and Nuance conferred in good faith via

email on November 11, 13, and 17, 2020 about this motion but were unable to resolve or

narrow the issues raised in this motion at this time.


                                              /s/ Daniel S. Sternberg
                                              Daniel S. Sternberg




                             CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to

electronic service are being served on November 18, 2020, with a copy of this document

via the Court’s CM/ECF system per Local Rule CV-5.4 (c).


                                              /s/ Daniel S. Sternberg
                                              Daniel S. Sternberg




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